 8:06-cr-00214-LES-TDT   Doc # 60   Filed: 11/08/06    Page 1 of 1 - Page ID # 80


                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:06CR214
                              )
          v.                  )
                              )
DANIELLE DORADOR,             )                        ORDER
                              )
               Defendant.     )
______________________________)


            The Court has been advised defendant wishes to enter a

plea.   Accordingly,

            IT IS ORDERED that a Rule 11 hearing is scheduled for:

                 Tuesday, November 21, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        This should give counsel time

to conclude plea negotiations and will accommodate the Court’s

schedule.   Thus, the ends of justice will be served by continuing

this case and outweigh the interests of the public and the

defendant in a speedy trial.        The additional time between

November 13, 2006, and November 23, 2006, shall be deemed

excludable time in any computation of time under the requirement

of the Speedy Trial Act.      18 U.S.C. § 3161(h)(8)(A) & (B).

            DATED this 8th day of November, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
